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IN THE UNITED sTATEs DISTRICT COUR
05 JUN 27 H LFdR THE WESTERN DISTRICT OF TENNESS&"§EJUN 23 m 9= 1,7

  
  

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W.D. CI. _l' , i\i.:..»»;‘i'ri 7 l
Unjted States Of Amem’ u(ii)&¥§§<di`r~$t MEM'PHiS
Piaimiff,
VS` 7 civil No. 04_3012-M1v

Six (6) Assorted Conveyances, With
All Appurtenances and Attachments

Thereon, /Q/- }}3/ Y/
C{/LM y. %

Ninety-Eight Thousand Eight Hundred
Ninety-Five Dollars ($98,895.00) in

U.S. Currency, /§JW,
Defendants. {A§§/::`A}
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MOTION TO CONTINUE SCHEDULING CONFERENCE
PENDING THE OUTCOME OF GOVERNMENT’S MO'I`ION
'I`O STAY ALL PROCEEDINGS a

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COMES NOW the United States of America, by and through Terrell L. Harris, United States
Attorney, and Christopher E. Cotten, Assistant United States Attorney for the Westem District of
Tennessee, and respectfully moves that this Honorable Court continue generally the scheduling
conference in the above~styled case pending the outcome of the government’S Motion to Stay All

Proceedings`. ln support of this motion, the United States would show the following:

l. A scheduling conference in the above-styled case is currently set for June 30, 2005.
2. Claimant Maj or Grubb is the defendant in United States v. Grubb, No. 04-203 l O-Ma

(W.D. Tenn.). Other claimants in this case are Connie McGaughy as the purported owner of the

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defendant 1997 Ford Expedition, VlN IFNBUI SLIVLBBS 1 15, and American Savings Credit Union
as the lienholder for the defendant 1997 BMW 74OIL, VlN WBAGJ83_25VDMO3816.

2. This case was previously stayed on Grubb’s motion without opposition from the
government The government has filed a motion requesting that the case remain stayed pending
judgment in Mr. Grubb’s criminal case. Ms. McGaughy opposes this motion; Mr. Gru‘ob and
American Savings Credit Union do not.

3. Accordingly, the government requests that the scheduling conference be continued
generally until this motion is resolved.

4. Government counsel has consulted with Mr. Bruce I. Griffey and Mr. Roger Stone,

attorneys for the claimants, who do not oppose the requested continuance

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CONCLUSION

 

For the foregoing reasons, the United States respectthlly requests that the scheduling

conference in the above-styled case be continued generallypending the outcome of the government’s

Motion to Stay All Proceedings.

Respectfully submitted,

TERRELL L. HARRIS
United States Attorney

/W“¢ @@/

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CERTIFICATE OF SERVICE
I, Christopher E. Cotten, Assistant United States Attorney for the Western Distn'ct of
Tennessee, hereby certify that copies of the foregoing motion have been sent, first class postage pre-

paid, to Mr. Bruce I. Griffey and Mr. Roger Stone, attorneys for the claimants

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d:H§ISToPHER E. CoTTEN
Assistant United States Attorney

       

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Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:04-CV-03012 was distributed by faX, mail, or direct printing on
June 28, 2005 to the parties listed.

 

 

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Ste. 800

l\/lemphis7 TN 38103

Honorable .l on McCalla
US DISTRICT COURT

